     Case 2:17-cv-04983-TJH-KS Document 33 Filed 07/23/18 Page 1 of 5 Page ID #:144




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 8                        United States District Court
 9                        Central District of California
10                             Western Division
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12       INTERWORKS UNLIMITED, INC.,                          CV 17-4983-TJH(KSx)
13
                             Plaintiff,                          Order Setting
14
                v.                                       Final Pre-trial Conference
15
         DIGITAL GADGETS, LLC.,                                        and
16
                                                             Referring Discovery
17                           Defendants.
18
               It is Ordered that all discovery matters which become at issue are referred to
19
        Magistrate Judge Karen L. Stevenson for her/his consideration. Please contact the
20
        courtroom deputy clerk to the Magistrate Judge regarding these matters.
21

22
               It is Ordered, pursuant to Rule 16 of the Federal Rules of Civil Procedures and
23
        Local Rule 16, that the Final Pre-Trial Conference is placed on the Court’s calendar
24
        for January 14, 2019 at 10:00 a.m. in Courtroom No. 9B in the U. S. Courthouse on
25
        First Street.
26
     Case 2:17-cv-04983-TJH-KS Document 33 Filed 07/23/18 Page 2 of 5 Page ID #:145




 1            Unless excused for good cause, each party appearing in this action shall be
 2      represented by the attorney who is to have charge of conducting the trial.
 3            It is further Ordered that any application or stipulation to continue the Final Pre-
 4      Trial Conference shall be lodged with the court no later than one week prior to the
 5      Conference date, and shall state the reason for seeking the continuance.
 6            The Court does not issue a scheduling order or set a status conference regarding
 7      the management of cases. Counsel are to come to an agreement regarding these dates
 8      to comply with FRCvP26 and Local Rule 16 in order to prepare for the Final Pre-Trial
 9      Conference. If discovery has not been completed by the time of the Final Pre-Trial
10      Conference, the COURT will set dates for discovery cutoff, the filing of any
11      anticipated pre-trial motions and for trial which could be a date four to six months
12      from the day of the Final Pre-Trial Conference.
13

14      Date: July 23, 2018
15

16

17                                                         ____________________________
18                                                               _Terry J. Hatter, Jr.
                                                             United States District Judge
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21                                                        Note to counsel: Please review the attached
                                                          “Memorandum”
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     Case 2:17-cv-04983-TJH-KS Document 33 Filed 07/23/18 Page 3 of 5 Page ID #:146




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 2
             MEMORANDUM
             TO:             COUNSEL OF RECORD
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 4           FROM:           Yolanda Skipper, Courtroom Deputy Clerk to the Hon. Judge Hatter
                             (www.cacd.uscourts.gov)
 5
             RE:             Procedural Rules for Judge Hatter’s cases
 6

 7    MOTIONS:
      All civil motions shall stand submitted, without hearing oral arguments, as of the calendared date of
 8    the motion. If Judge Hatter desires to hear oral arguments, the motion will be set by written
      notification to counsel for a date other than the calendared date of the motion.
 9

10    Please notice the motion for a Monday, excluding legal holidays, and comply with the Local Rules
      as to service and filing of the motion. Where you will indicate the time of the hearing, please insert
11    “Taken Under Submission”. No one needs to appear unless ordered by the Court.

12    When a decision has been made, copies of the order and/or judgment will be sent to all counsel of
13    record via the CM/ECF system. PLEASE REFRAIN from calling the court clerk regarding the
      status of the motion. See Local Rule 83-9.2. expect ruling to come out no later than 120 days from
14    the hearing date.

15    DEPOSITIONS:
16    Please do not lodge depositions in conjunction with a motion. If Judge Hatter finds it necessary to
      review a deposition, counsel will be contacted.
17
      EX PARTE APPLICATIONS:
18    Please comply with the Local Rules except as to the date and time for a hearing. Judge Hatter will
19    determine whether a hearing is necessary after he has reviewed the application. If there is to be a
      hearing, counsel will be contacted as to date and time.
20
      When opposing counsel has been notified of an ex-parte application and would like to submit a
21    written objection, please contact the court clerk immediately and counsel will be given, at least, a
22    day to file it.

23    TELEPHONIC INQUIRIES regarding the status of a stipulation may not be returned.

24    DISCOVERY MATTERS/MOTIONS:
25    All discovery matters which become at issue are referred to the Magistrate Judge assigned to the
      case for his or her determination. The initials in parentheses in the case number indicates the name
26    for the magistrate judge. Please contact the court clerk for the magistrate judge regarding these
      matters.
     Case 2:17-cv-04983-TJH-KS Document 33 Filed 07/23/18 Page 4 of 5 Page ID #:147




 1    SCHEDULING CONFERENCE / PRE-TRIAL CONFERENCE:
      Judge Hatter does NOT set a scheduling conference. When the matter becomes at issue or the
 2    majority of the pleadings have been filed, the Final Pre-trial Conference will be set. The Joint
      Proposed Pretrial Conference Order is to be lodged with the Court no later than SEVEN days prior
 3    to the Final Pre-trial Conference hearing. Failure to comply with the Court's Order may result in
 4    the imposition of sanctions.

 5    SETTLEMENT :
      Please comply with Local Rule 16-15.7 and be prepared to file a Notice of Settlement with an
 6    estimated time in which you will file the proper Stipulation and Order of dismissal.
 7
      NAMES OF REPORTERS:
 8    The name of the reporter for a hearing may be obtained from the Minutes of the hearing. It can
      also be obtained from the CM/ECF or PACER on the Central District of California’s website
 9    (www.cacd.uscourts.gov). Court reporters contact information are also available on the Court’s
10    website.

11    COURTESY COPIES:
      Mandatory courtesy copies of ALL electronic filed documents will be delivered, with the notice of
12    electronic filing attached, to the Customer Service Window, 4th Floor at 350 W. 1st Street,
13    Attention: Yolanda Skipper for Judge Hatter. Additionally, for any filings requiring a proposed
      order, an electronic word processing version must be emailed to Judge Hatter’s chambers email
14    inbox at tjh_chambers@cacd.uscourts.gov. The subject line should appropriately indicate that
      nature of the document (example: CV 00-1234-TJH-PROPOSED ORDER- STIP TO CONTINUE).
15

16    TRIALS:
                                       Exhibits and Witness Lists:
17    On the first day of trial, arrive at courtroom no later than 9:45 a.m. and please bring with you the
      following:
18

19           1. All exhibits, already marked (witness copy); Exhibit Tags may be obtained from the Civil
             Intake Division of the Clerk’s Office, Affix them to the lower right-hand corner of the
20           exhibit.
             2. Bench copy of all tagged exhibits. Place them in a binder with tabs corresponding to the
21           exhibit numbers; If a blowup is an enlargement of an existing exhibit, it shall be designated
22           with the number of the original exhibit followed by an appropriate alphabetical design.
             3. Copies of depositions that are to be used for any purpose (original or a copy for the
23           witness and a copy for the judge;
             4. Three clean copies of your witness list for Court use (no headers of filing marks);
24           5. Three clean copies of your exhibit list (to include columns identifying the exhibit number,
25           description of the exhibit, date identified and date admitted/received) for Court use;

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     Case 2:17-cv-04983-TJH-KS Document 33 Filed 07/23/18 Page 5 of 5 Page ID #:148




 1    Counsel should email word processing versions of the witness, exhibit lists and proposed verdict
      form to the courtroom deputy clerk no later than a day before the trial at
 2    tjh_chambers@cacd.uscourts.gov and appropriately indicated the nature of the document in the
      subject line (example: CV 00-1234-TJH- Defendant’s Exhibit List).
 3

 4    DEPOSITIONS:

 5    If they are to be used during a trial, LODGE them 7 days prior to the trial. If a deposition is to be
      used in lieu of live testimony, please indicate the designated portions by any means other than
 6    color-coded. Judge Hatter is “color ignorant”. You may designate the portions by listing them on a
 7    separate sheet.

 8    All proposed Voir Dire questions should be filed 5 days prior to the trial.

 9    JURY INSTRUCTIONS - PLEASE comply with the ORDER regarding instructions issued after a
10    trial date has been set (usually at the Final Pretrial Conference).

11
      TRIAL HOURS:           Tuesdays through Fridays
12                           Begin at 9:00 a.m. (except for the 1st day - at 10:00 a.m.)
13                           Lunch recess is normally 12:00 noon to 1:30 p.m.
                             Adjourn between 5:00 p.m. and 6:00 p.m.
14                           There will be a mid-morning and mid-afternoon recess.

15    Do not approach the clerk or witness box without specific permission. Please return to the lectern
16    when the purpose of the approach is finished. Please RISE when addressing the Court. Counsel
      shall not, by facial expression, nodding, or other conduct, exhibit any opinions, adverse or
17    favorable, concerning any testimony which is being given by a witness. Counsel shall admonish
      their own clients and witnesses similarly to avoid such conduct.
18

19    IMPANELING OF JURY / CONDUCT OF COUNSEL:

20    On the first day of trial, Judge Hatter will instruct counsel as to voir dire procedures, expected
      conduct of counsel during trial, and other relevant matters. Always stand and approach the lectern
21    when addressing the Court.
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